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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


  CLEO H. SMITH, as Personal                                           CASE NO:
  Representative of the ESTATE
  OF DEMARCUS SEMER,
         Plaintiff,
  v.

  CITY OF FORT PIERCE, RALPH HOLMES,
  and BRIAN MACNAUGHT.
        Defendant(s),
  ________________________________/

                                            COMPLAINT

         The Plaintiff, CLEO H. SMITH, as Personal Representative for the ESTATE OF

  DEMARCUS SEMER, deceased, on behalf of said ESTATE and the survivors of DEMARCUS

  SEMER (“DEMARCUS”), hereby files this complaint against the Defendants, the CITY OF FORT

  PIERCE, FL, by and through the Fort Pierce Police Department (“FPPD”), and by and through its

  employees and agents, Sergeant BRIAN MACNAUGHT, Individually and in his Personal and

  Professional capacities, and Officer RALPH HOLMES, Individually and in his Personal and

  Professional capacities, and states as follows:

                                   CONDITIONS PRECEDENT
      1. All conditions to Plaintiff’s recovery have been performed or have occurred.

      2. At all times material hereto, the Plaintiff has fully complied with the provisions of Fla.

          Stat. § 768.28 and in particular, presented a written Notice of Claim (“Notice”) to the CITY

          OF FORT PIERCE.

      3. CLEO H. SMITH is the duly appointed Personal Representative of the ESTATE OF

          DEMARCUS SEMER and is therefore authorized to bring this action on behalf of said



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        Estate. Letters of Administration were issued on or about August 31, 2017. A copy of the

        Letters of Administration is attached hereto and made a part hereof as Exhibit A.


                                JURISDICTION AND VENUE
     4. Jurisdiction exists in this Court, pursuant to 28 U.S.C. §1331 and §1343, as this action is

        brought under, inter alia, the Fourth and Fourteenth Amendments of the United States

        Constitution, and 42 U.S.C. §1983 and §1985, to redress the deprivation of rights,

        privileges and immunities guaranteed to decedent DEMARCUS SEMER, by

        constitutional and statutory provisions.        Plaintiff further invokes the supplemental

        jurisdiction of this Court, pursuant to 28 U.S.C. §1367, to adjudicate pendant claims

        arising under the laws of the State of Florida.

     5. Venue is proper in this Court because the causes of action occurred within the Southern

        District of Florida.

                                            PARTIES
     6. During all times material, DEMARCUS SEMER, decedent, was a person of the full age

        of majority, and a resident of Saint Lucie County, FL.

     7. The potential beneficiaries of a recovery for the wrongful death of the decedent and their

        relationships to the decedent are as follows:

            a. LATRICIA MIDDLETON, biological mother of decedent.

            b. The ESTATE OF DEMARCUS SEMER.

     8. During all times material, Defendant RALPH HOLMES was a member and employee of

        the Fort Pierce Police Department who worked within the Southern District of Florida as

        a police officer.

     9. Defendant HOLMES is being sued in his individual and official capacity as an employee

        of the Fort Pierce Police Department.

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     10. During all times material, Defendant BRIAN MACNAUGHT was a member and

        employee of the Fort Pierce Police Department who worked within the Southern District

        of Florida as a police officer.

     11. Defendant MACNAUGHT is being sued in his individual and official capacity as an

        employee of the Fort Pierce Police Department.

     12. Defendant, CITY OF FORT PIERCE, is a municipality located in St. Lucie County, and

        operates the Fort Pierce Police Department (“FPPD”).

     13. The CITY OF FORT PIERCE, along with those listed below as “Policymakers”, are

        responsible for the implementation of the police department’s budget, policies, procedures,

        practices, training, instructions, equipment and customs, as well as any and all acts and

        omissions.

                                     NATURE OF THE ACTION

     14. DEMARCUS SEMER was a young, unarmed man with a clean record, who was pulled

        over for speeding, attacked by two policemen, and shot to death.

     15. The killers were so ruthless and aggressive that one of them, upon DEMARCUS having

        been pulled over for speeding, admits to “sneaking” up on the scene and then around the

        side of the vehicle, opening the passenger side door without SEMER realizing it, and

        entering the car without announcing himself, or having any legally justifiable reason to do

        so.

     16. This gross violation of DEMARCUS’ Fourth Amendment Right against unreasonable

        search and seizure prompted DEMARCUS to flee for his safety. Although DEMARCUS

        was unarmed and displayed neither aggression nor a threat of any kind, the policemen

        repeatedly attacked this young man multiple times with shockingly disproportionate

        means.


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     17. Despite glaring and material discrepancies from one account of the incident to another, it

        is certain that each officer fired his gun at the unarmed man, who simply may have been

        guilty of driving alone at night too fast and perhaps having a small amount of marijuana

        in his car.

     18. One of the officers fired his Taser at DEMARCUS as well, however, it is uncertain

        which officer because Officer MACNAUGHT told differing facts.

     19. What is certain beyond any doubt is that after being snuck up on, having his car opened

        and entered without warning, knowledge or a warrant, being aggressively confronted by

        the officers for a traffic issue, and being shot at multiple times, DEMARCUS logically

        believed that fleeing was his best option. Submitting to the cops who had displayed

        unequivocally that they were not restrained by procedure or by law, and who had used

        deadly force on him merely for driving his car too fast, was a less reasonable option in the

        moment from DEMARCUS’ perspective.

     20. DEMARCUS was proven to be completely and tragically correct in trying to flee the two

        cops who displayed an unrelenting and evident thirst for action, confrontation, or for more

        than that.

     21. Officer MACNAUGHT fired the deadly shot squarely into DEMARCUS’ back as he ran

        with his arms outstretched in the air away from the officer.

     22. This unequivocally evidences that the officers were not equipped nor trained to exercise

        restraint.

     23. Statements by both the Chief of Police for the Department and by the Use of Force Expert,

        hired for the official investigation and grand jury, fault the officers for their needless

        aggression based on the simple fact that DEMARCUS ought to have been permitted to



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        flee, because he was just speeding and maybe had a little marijuana, and the officers had

        his Driver’s License, and could have just found him later.

     24. The sad truth is that it comes as no surprise to anyone who hears about the incident that

        the deceased was African-American, that those responsible for the homicide were

        policemen, that the victim never had a weapon, that the police used the tired excuse that

        they mistook a cellphone for a gun, or that the victim was killed with a gunshot into his

        back as he ran from cops who had initiated the aggression by illegally invading his vehicle.

     25. The facts are simply not reconcilable with the officers having the slightest regard for the

        safety and welfare of DEMARCUS, nor with there having been any justifiable, non-

        discriminatory reason for Defendant MACNAUGHT to have provided unsolicited back-

        up for a traffic stop for speeding, by “sneaking” around the passenger’s side of the vehicle,

        and opening the car door secretly, in clear violation of police procedure and the Fourth

        Amendment.

     26. This action is brought on behalf of DEMARCUS SEMER against the Defendants in order

        to seek redress for profound deprivations of DEMARCUS’ constitutional rights by

        Defendants HOLMES and MACNAUGHT and the FPPD.

     27. The Plaintiff brings suit for excessive and deadly force resulting in the unlawful shooting

        death of DEMARCUS SEMER, under the color of law, in violation of his rights under

        the Fourth and Fourteenth Amendments of the United States Constitution, and in

        violation of his Civil Rights pursuant to 42 U.S.C. § 1983.

     28. Plaintiff alleges that the City of Fort Pierce, namely the FPPD, and its policy makers,

        including the City Commission, Mayor, City Manager, the Police Chief, and the other

        ranking officers in command (collectively referred herein as the "Policymakers") failed to



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        properly train, supervise, screen, discipline, transfer, counsel or otherwise control officers

        who are known, or who should have been known, to engage in the use of excessive force

        and/or deadly force, including those officers repeatedly accused of such acts. The

        Defendants had a duty, but failed to implement and/or enforce policies, practices, orders,

        rules, regulation and procedures for the FPPD that would have protected Plaintiff and

        prevented the violations of his constitutional rights which caused his tragic death.

     29. Defendants, and most notably, the Policymakers, failed to adequately prepare Defendants

        HOLMES and MACNAUGHT by inadequately training, supervising, and equipping them,

        and deficiently implementing, instructing, and enforcing compliance with policies

        necessary to protect civilians during encounters with officers, including traffic stops.

     30. The government hired an expert that deemed the traffic stop trainings and the FPPD’s

        tactics inadequate in multiple respects.

     31. According to the Chief of the Department, a pattern of procedural violations existed and

        were being committed by these officers.

     32. The Chief’s tenure began recently, and thus well after the officers’ training, and after their

        deficient grasp and adherence to procedure was formed and exhibited.

     33. The officers were cited for 15 violations of procedure by the Department arising out of

        this incident, and there were multiple other procedural violations and episodes of

        misconduct, particularly of lying to superiors and investigators, in which investigators

        either ignored or missed, due to an inadequate investigation.

     34. Defendants consciously disregarded the rights of Plaintiff by ignoring procedures and law,

        and believing that the Policymakers would approve of, or at least not object to, their actions.




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     35. Defendants’ wanton and reckless behavior was not only needless and deadly, but also far

        below the levels our Constitution requires.

     36. The evidence already collected is frightening, and so too is the manner in which the

        Department and its officers have fought against The Police Chief’s efforts to terminate

        these officers, despite an inadequate investigation of the shooting, which is symptomatic

        of the flawed Departmental culture which encourages noncompliance with procedures and

        promotes unnecessary violence.

     37. The City of Fort Pierce has a dubious record, which does not include a single determination

        of a “bad shooting” by an officer, nor a single discharge of an officer following a shooting

        within the 15 years preceding this incident.

     38. Following an investigation that should make every member of the FPPD hang their

        collective heads in shame, and the rebuffing of the Chief’s attempt to let go of officers she

        deems substandard, it is evident that The Department’s pattern of disregard for safe police

        procedure, training, and supervision still exists today.

                                              FACTS

     39. On April 23, 2016, just before midnight, DEMARCUS SEMER, was driving his car east

        on Avenue G in Fort Pierce, FL.

     40. DEMARCUS was a talented musician who was driving alone in the vehicle to meet a

        group of friends with whom he had formed a band. As DEMARCUS drove towards his

        bandmates' home to join them in playing video games, Defendant HOLMES laid in wait

        in his patrol car, observing traffic on the side of the road with the lights off. HOLMES

        decided to stop and pull DEMARCUS over in a residential neighborhood for speeding.

     41. Defendant HOLMES subsequently claimed that he had “visually estimated” the car to be

        traveling at 45 miles per hour in a 25 mph zone, an assertion incapable of verification due

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        to his failure to use a radar gun. Standard police procedure for officers who are secretly

        monitoring traffic involves use of a radar detector, which HOLMES claimed to use to

        confirm the speed.

     42. Defendant HOLMES did not observe any other traffic violations of any kind after pulling

        behind DEMARCUS.

     43. The Defendant policemen have offered their version of the events which followed through

        statements and sworn testimony, however, there is no doubt that Defendant CITY OF

        FORT PIERCE's Police Department failed to equip the car driven by HOLMES, or that of

        the other officer who arrived later, Defendant MACNAUGHT, with a functioning “dash

        cam” and the ability and knowledge needed to use one.

     44. The use of “dash cams” has become appropriate and standard for police departments as

        they are inexpensive and valuable for evidence gathering, training, and protection of

        citizens such as DEMARCUS, who are stopped by the police. There was no rational, good

        faith reason for the FPPD to have failed to utilize a “dash cam” in the subject police vehicle,

        or for Defendant HOLMES and his superiors to have failed to make appropriate efforts to

        correct that failure.

     45. Without question, the largest benefit which the Defendants might derive from not having

        a working “dash cam” is to inhibit any monitoring or investigation of a traffic stop. In

        addition to the fact that Defendants effectively eliminated the driver’s account of the stop

        by killing him, their failure to use a “dash cam” served to eliminate a crucial potential

        source of evidence which might have refuted the officers' account.               Furthermore,

        Defendants’ failure to evidence the encounter did not stop there as they also failed to utilize

        commonly employed “body cams” which also would have objectively recounted what

        occurred.


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     46. In a display of irony, the Department’s investigation faulted Officer MACNAUGHT for

        actually having a body camera.      That camera was several years old from the officer’s

        SWAT duties and while it was not in use and tucked away in his vehicle’s truck, it

        evidences that the DEPARTMENT’s failure to have had a body cam on the officer who

        shot DEMARCUS is inexcusable.

     47. Mathematically speaking, the odds of the subject, body cams on each officer and dash

        cams on both cars being eliminated purely by coincidence are seriously low.

     48. Once DEMARCUS stopped his vehicle upon Defendants' instruction, Defendants

        committed a string of violations of Departmental policy which was so egregious that the

        Police Chief fired them both.

     49. Initially, HOLMES claims to have gone up to the driver's side window to attempt to speak

        with SEMER, then noticed a small amount of marijuana “shake” in the vehicle along with

        a cellphone on the dashboard.

     50. Holmes didn’t notice any weapons and, in fact, neither officer has ever stated that he saw

        a gun or anything which appeared like it might be a gun in the car or on SEMER’s person

        while he was in the vehicle. Similarly, neither officer reported having seen any ammuni-

        tion, gun case, gun cleaning material, or any other firearm accessory.

     51. HOLMES claims he then attempted to have DEMARCUS exit the vehicle a few times,

        and DEMARCUS refused each time. At that point, HOLMES had already committed an-

        other violation of FPPD's policies in that they had failed to instruct DEMARCUS to place

        his car in park and to turn off his engine.

     52. HOLMES then committed another procedural violation by reaching into the vehicle mul-

        tiple times and attempting to open the car door.




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      53. Meanwhile, MACNAUGHT, who had pulled up behind the vehicles, went around to the

         passenger-side window, and in another blatant policy violation, opened the passenger

         side's door in a stealthy manner. MACNAUGHT admitted that he opened the door in order

         to conduct a secretive search of the vehicle, including to make sure no one was in the back

         seat.

      54. The Government’s Expert on Use of Force questioned the reasonableness of MAC-

         NAUGHT’s claimed motivation for his unilateral opening of the door and entry, as his

         actions in doing so are wholly inconsistent with a desire to promote safety by excluding

         the alleged possibility of a person in the back seat. MACNAUGHT’s conduct was unsafe

         and put him in jeopardy, and his reasoning for doing so was a pretense.

      55. MACNAUGHT claims to then have announced himself to DEMARCUS before trying to

         convince him to leave the vehicle. DEMARCUS was startled to see his door open and the

         officer suddenly inside the vehicle next to him unannounced. MACNAUGHT’s version

         of the events involves him then announcing himself to DEMARCUS at this point.

      56. However, it is unlikely that MACNAUGHT’s version of events would be taken as

         necessarily accurate by the trier of any fact due to his having blatantly and demonstrably

         lied about the details of the subject incident while giving his statement under oath to

         investigators.

      57. MACNAUGHT was fired from the police force around the time of the false statement, and

         it would be clear to any investigator that his facially false statements were manufactured

         to cover up the cause of DEMARCUS’s death.             The FPPD’s failure to act upon

         MACNAUGHT’s lies, or to even point them out during the investigation or as part of their

         findings, was either part of a cover-up of the Department’s responsibility for the killing,




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         or a complete and utter failure by the Department to conduct a legitimate or adequate

         investigation.

      58. MACNAUGHT admits to actually getting into the car via the passenger side's door, which

         he tries to justify by claiming that he did so because DEMARCUS was preparing to drive

         off. Forcing himself into a driver’s car through the passenger’s side during a routine traffic

         stop for speeding was another gross violation of Department policy.

      59. According to the officer’s own accounts, DEMARCUS had not been violent and there was

         no discussion of him being threatening in any way with either officer before MAC-

         NAUGHT shocked the man by opening his passenger side door and diving in. While

         HOLMES claims he did see a small amount of loose marijuana “shake” in the car, MAC-

         NAUGHT has conceded he neither saw nor smelled any, and initially believed they might

         simply detain SEMER and not arrest him.

      60. An ordinary, reasonable person such as DEMARCUS knows enough about police officers

         and how they conduct traffic stops to know that MACNAUGHT’s conduct at that point

         was unusual, overly aggressive, foolish, and procedurally improper. MACNAUGHT was

         also undoubtedly aware of an important fact that ordinary people are fully cognizant of

         from life experience and certainly from television and movies: Cops aren’t supposed to

         just forcibly enter your home or vehicle without a warrant.

      61. MACNAUGHT’s action of taking it upon himself to enter DEMARCUS’ vehicle through

         the passenger side would be frightening to any ordinary person because they would

         immediately recognize that the officer was operating outside of the law and normal police

         procedure while displaying unwarranted aggression.

      62. MACNAUGHT also knew that DEMARCUS was African-American, and was aware of

         the current climate in which police officers harming African-American men was so


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         prevalent. Being as MACNAUGHT must have realized that DEMARCUS would logically

         have an augmented sense of fear from conduct so grossly violative of procedure, and yet

         still deliberately and illegally invaded his car, then it is reasonable to conclude that he was

         indifferent to DEMARCUS’ rights.

      63. MACNAUGHT went from initially thinking about letting DEMARCUS go, to invading

         his car and attacking him with the only change in circumstances being that Defendant

         HOLMES noticing a small amount of marijuana.

      64. In case it needs to be said, possession of a small amount of marijuana, like DEMARCUS

         had, is legal for some of the population in 29 states, including Florida, decriminalized in

         12 states, and in Miami, Orlando and Tampa, and fully legal in 9 states and the District of

         Columbia.

      65. As their Chief stated, they could have let DEMARCUS leave.

      66. Further, at the time MACNAUGHT invaded SEMER’s car, there is no way he could have

         been sure that DEMARCUS did not possess the marijuana for medical purposes.

      67. Though this may not have technically made the small amount of shake in DEMARCUS’

         car necessarily legal for him to possess, it does further evidence how overboard Defendants

         went, and that they must have known their actions were grossly disproportionate to the

         only crime they suspected.

      68. It is unconscionable and demonstrative of uncontrolled aggression, not to mention a

         violation of Department policy, for the Defendants to initiate a physical altercation with

         DEMARCUS over such a low level misdemeanor, if there ever was one. Their escalation

         of force, even beyond that, demonstrated a malicious motive likely borne out of frustration

         that someone dared not succumb to their authority, and caused them to have clouded

         judgment and anger and malice enough to shoot at him.


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      69. Upon entering the car, MACNAUGHT concedes to have had a physical altercation with

         DEMARCUS as he tried to force DEMARCUS out. Again, this must have been terribly

         frightening to DEMARCUS, as most anyone recognizes that proper procedure for

         policemen does not include invading cars and getting physical in such a manner with

         people they pull over for speeding who are not guilty of anything more.

      70. At this point in time, it would occur to an ordinary, reasonable person like DEMARCUS

         that MACNAUGHT’s conduct up to this point evidenced he was more than willing to

         ignore police procedure AND to use physical force without regard for any limitations

         imposed by the Department and by the law.             Taken together, Defendants’ actions

         constituted a pattern of conduct as it pertains to DEMARCUS, which justifiably and

         expectedly made him fearful of imminent physical harm.

      71. After he was unable to physically force DEMARCUS to submit to his will,

         MACNAUGHT claims in his interview to have drawn his Taser and shot DEMARCUS.

         Firing one’s Taser while confined inside a citizen’s car was still another instance of conduct

         violative of Departmental procedure by Defendants. Additionally, because the TASER

         apparently did not hit DEMARCUS directly, it left him conscious, mobile, fearful, and

         wondering what most anyone would at this point: What will these cops do next?

      72. The conduct of these officers to this point, based almost exclusively on their own testimony,

         was objectively frightening. Eliminating functional dash cams, body cams for each officer,

         a radar gun, and the victim himself as possible sources of evidence illustrated a pattern by

         the FPPD of acting deliberately and consciously with disregard for the safety of others.

      73. Furthermore, Officer MACNAUGHT clearly informed the first officer on the scene,

         Detective Streeter, that HOLMES fired the Taser and not him. Detective Streeter indicated

         that he was positive this was what MACNAUGHT told him.


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      74. In the alternative, even if any of these instances of failing to act to keep their citizens safe

          is indeed coincidental and not part of a pattern, then any one or more of the measures

          would still have been intended to cover-up police crimes. Regardless of the extent with

          which the FPPD fails to supply inexpensive cameras or fails to adequately train its officer

          not to shoot people in the back while they run away, the pattern of reckless and deliberately

          indifferent activity during the subject traffic stop by the Defendants is evident.

      75. The escalating conduct detailed to this point continued only to get more outrageous while

          MACNAUGHT grappled with DEMARCUS in the car. According to the officers’

          testimony, HOLMES fired multiple gunshots into the car while DEMARCUS and

          MACNAUGHT struggled. Neither officer reports ever having seen any weapon in the

          vehicle or on DEMARCUS’ person while inside the vehicle. MACNAUGHT, however,

          claimed in sworn testimony that he believed at the time that DEMARCUS fired the shots

          from some unseen weapon he had drawn during their physical altercation.

      76. MACNAUGHT testified that he heard the gunshots while fighting with DEMARCUS,

          while the man was driving his car away with one hand while using his opposite hand to

          fight MACNAUGHT.

      77. First off, MACNAUGHT’s testimony of DEMARCUS fighting him with one hand while

          driving his car with the other makes his claim to have believed DEMARCUS also drew

          and fired a gun impossible. Clearly, the gunshots could never have made MACNAUGHT

          truthfully believe the Plaintiff was firing a gun because MACNAUGHT knew the obvious

          fact all along that the Plaintiff had no hand free to do so with.

      78. MACNAUGHT’s lie, told to justify his claim that he believed DEMARCUS had a gun

          when he tried to run away, was one the Defendants’ investigators and detectives surely

          recognized, and yet did not act upon or bring to light. Furthermore, MACNAUGHT would


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         have had to have something beyond extremely good fortune to have missed being shot by

         one of the three shots if DEMARCUS had fired them. DEMARCUS would have been

         shooting from point blank range as he sat right next to MACNAUGHT in the car with one

         of his (three?) hands on him.

      79. Thus, even if it really never occurred to MACNAUGHT that the Plaintiff did not actually

         have a way to hold this invisible gun, he must have recognized by the absence of the smell

         of gunpowder or deafening sound that DEMARCUS had not been fired multiple times at

         him by the man sitting next to him at arm’s length.

      80. In order to protect itself from liability, Defendant CITY OF FORT PIERCE used a police

         officer from a local agency to conduct an “experiment,” devoid of any scientific credence,

         in which he fired a gun from within a car and from outside a car to see if MACNAUGHT

         really believed that shots fired outside the car were fired inside the car. The fellow officer

         concluded that MACNAUGHT could have thought the shots were actually coming from

         the person two feet away, and not from outside the car.

      81. The preparation and presentation of this “test” was a complete sham that CITY OF FORT

         PIERCE knowingly utilized to cover up the shooting, and that was used to improperly

         influence the grand jury by substituting the wholly subjective “judgment” of a hired local

         policeman for that of the jury through use of a pseudo-scientific “experiment” that lacked

         any control or evidentiary value. The fact that a prosecutor presented the grand jury this

         bare-bones testimony of another local officer as to what he judged the reasonableness of

         MACNAUGHT’S perception to be – based not even on his knowledge or experience, but

         rather a ridiculous, uncontrolled “experiment” – is proof positive that THE CITY OF

         FORT PIERCE manipulated this investigation and prosecution in violation of the

         Constitution.


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      82. As mentioned previously, it is not even certain that MACNAUGHT used the Taser, based

         on his statements to the contrary at the scene when his memory was fresh. He also had

         not had the three days to prepare prior to his official interview, and the opportunity to work

         with HOLMES, union personnel, and their lawyers, to formulate a narrative sufficient to

         exonerate them.

      83. If HOLMES was indeed the one firing the TASER, which is consistent with the leads for

         the TASER being discovered outside the driver’s door where HOLMES was, as opposed

         to inside the vehicle where MACNAUGHT was, then it would have been unlikely for

         HOLMES to also have had the opportunity to shoot his gun at the occupied vehicle.

      84. Regardless, HOLMES having been the one to fire the TASER definitively negates

         MACNAUGHT’s claim that he shot his Taser because he believed DEMARCUS fired a

         gun in the car. In that case, the fact is he would have fired no weapon because he never

         really believed he was shot at.

      85. The Government’s Expert, Geoffrey Alpert, calls MACNAUGHT’s account into question,

         despite his shockingly never having been given Detective Streeter’s account to review.

         Dr. Alpert raised the mystery question of why the officer would have returned gunfire with

         a Taser, which obviously would be disposed of logically if MACNAUGHT was being

         truthful at the scene after the shooting.

      86. HOLMES’ conduct evidences failure after failure of the Department to take action to instill

         responsibility in HOLMES to follow procedure. This repeated failure to act and take stern

         disciplinary action, evidences the Department’s broken disciplinary system plagued by

         supervision, which is repeatedly indifferent to procedure being followed by the

         Department’s rank and file.




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      87. Two other incidents involving HOLMES serve to further illustrate the Department’s will-

         ful tolerance of improper procedure. On one of the occasions, when HOLMES missed

         work, he was discovered drunk and at a ballgame.

      88. Being as most people have never simply just not shown up for work as HOLMES has

         repeatedly, it is fair to say that many would consider it very difficult to believe that the

         FPPD’s procedures and disciplinary system was so lax so as to allow an officer to be paid

         to “protect and serve” after they skipped work in order to get drunk.

      89. Also illustrative of a Department that has no care or regard for the enforcement of proper

         police procedure is the fact that HOLMES’s personnel files reflects another incident in

         which he was suspended for two days, however, lacks any specifics nor details. A Depart-

         ment concerned with overseeing and disciplining officers would never allow such defi-

         ciency in their disciplinary records.

      90. One need look no further than this lawsuit or the determination made regarding HOLMES’

         discipline in this matter to realize that accurate record keeping of past discipline is essen-

         tial for both future discipline and to illustrate the Department actually takes discipline

         seriously.

      91. When HOLMES started shooting at the car, DEMARCUS, who was already wondering

         what MACNAUGHT’s next attack would be following the Taser, then realized bullets

         where flying at him from HOLMES.

      92. Justifiably fearful he was in immediate and severe danger, DEMARCUS grabbed the cell-

         phone MACNAUGHT saw on the dashboard, and fled the vehicle. At this point DEMAR-

         CUS was fully aware that HOLMES was trying to shoot him to death and likely believed,

         and justifiably so, that MACNAUGHT was also about to try to shoot him down. MAC-




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         NAUGHT’s escalating, aggressive behavior had reached a point where shooting his fire-

         arm was the only measure left for him that would comport with the escalating nature of

         behavior he had displayed.

      93. The severity and the multitude of improper actions by the officers evidence a lack of both

         training and of regard for the lives of those they were sworn to protect, including that of

         DEMARCUS SEMER.

      94. The pattern and extent of the Defendant officers’ illegal actions and violations of Depart-

         ment procedure were of sufficient extent and severity so as to constitute Constitutional

         violations.

      95. These officers were trained and experienced policemen who were either so poorly trained

         and supervised that they did not know their conduct was improper and dangerous, or the

         officers were completely unconcerned with the propriety of their conduct due to a whole-

         sale and deliberate indifference at the FPPD to supervision, training, and the general

         maintenance and practice of proper police procedure within the Department. Beyond vi-

         olating technical rules, the officers’ actions were needlessly aggressive several times over

         to the point that they made DEMARCUS legitimately afraid for his life.

      96. In that same vein, one of the officers committed yet another serious violation of procedure:

         the possession of a non-departmental firearm. This demonstrates a serious lack of regard

         for procedure designed to protect the rights of citizens. Though admittedly difficult to

         divine a purpose for the improper firearm, the possession of it alone disregards a require-

         ment that ensures that ballistic matches may be made to departmental firearms and as-

         signed to the officer responsible in an accurate manner. A shot from an outside weapon

         would be difficult to match, and allow for the possibility of an officer’s shooting to be

         unattributed.


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      97. The Defendants’ illegal, improper, and dangerous acts drove DEMARCUS to flee the

         scene in an effort to save his own life. Unfortunately, DEMARCUS was correct to fear

         for his life from the policemen, but even correctly sensing their unbridled aggression and

         the danger they posed was not enough to save his life. As DEMARCUS ran away, MAC-

         NAUGHT exited the vehicle and fired several shots at him from behind. Defendant MAC-

         NAUGHT hit DEMARCUS with one of the bullets, fatally wounding him with a shot that

         travelled from an entry in the flat part of the back and traveled up and through arteries

         leading down from his heart.

      98. MACNAUGHT claims that he shot DEMARCUS because the deceased turned around

         and faced him and started moving towards him while waving what he thought looked like

         a gun in one of his outstretched hands. However, MACNAUGHT was not only wrong

         about a gun being present, but his sworn justification for thinking such is patently untrue

         based on his having been admittedly unable to mention which of DEMARCUS’s hands

         the “gun” was in.

      99. It is clear that DEMARCUS never had a gun, and MACNAUGHT never actually believed

         that DEMARCUS had a gun, considering, in addition to other facts alleged in the Com-

         plaint, the fact that no weapon was ever found at the scene; the investigator’s only hypoth-

         esis was that DEMARCUS had a cellphone in his hand that MACNAUGHT mistook for

         a gun; no cellphone was found at the scene of the shooting for several hours; no cellphone

         appears on the evidence log taken after the shooting; MACNAUGHT testified he never

         saw DEMARCUS with his cellphone despite sitting right next to him; no other witness

         was relied upon in the various reports as having believed to have seen DEMARCUS with

         a gun; neither the Defendants nor anyone else reported hearing or seeing gunshots from




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         DEMARCUS and MACNAUGHT’s story concerning his claimed belief that DEMAR-

         CUS had a gun contains glaring contradictions from other statements.

    100. The bullet wound in DEMARCUS’ back was in no way close to his side or chest. It was,

         without question, that MACNAUGHT shot DEMARCUS right in the back. The position

         of the bullet wound demonstrates that DEMARCUS was not turning when MAC-

         NAUGHT fired. It strains credulity for MACNAUGHT not to know which hand the per-

         son he shot and killed was supposedly threatening him with. Furthermore, it is incon-

         sistent for the deceased to have been charging towards the officer with an outstretched

         arm, and yet for the bullet to strike him right in the back. The location of the deceased’s

         wound evidences that MACNAUGHT was covering up the improper nature of the shoot-

         ing by fabricating an attack with an am outstretched by DEMARCUS.

    101. Defendants MACNAUGHT, HOLMES, and other officers at the scene of the shooting

         incident were acting under color of law, and acting pursuant to customs, practices, and

         policies of the CITY OF FORT PIERCE and the FPPD, in regards to the use of deadly

         force as authorized and/or ratified by the Policymakers. DEMARCUS was deprived of

         rights and privileges secured to him by the United States Constitution and by other laws

         of the United States, by the CITY OF FORT PIERCE’s failure to provide proper training,

         adequate supervision, or discipline in dealing with individuals such as DEMARCUS in

         violation of 42 U.S.C. §1983, and related provisions of federal law and in violation of the

         above cited constitutional provisions.




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              COUNT I - EXCESSIVE FORCE BY DEFENDANT MACNAUGHT
                          (Individually and in his official capacity)

                               COUNT 1 – 42 U.S.C. § 1983


    102. Plaintiff incorporates by reference paragraphs 1 through 101as if fully set forth herein.

         Plaintiff would show that Defendant MACNAUGHT’s actions on the occasion in question

         were wrongful, malicious, and reckless in depriving DEMARCUS of his constitutional

         rights, as alleged more fully below.

    103. At all times material hereto, Defendant MACNAUGHT had a duty to avoid infliction of

         unjustified bodily injury to DEMARCUS, to act to protect him from known or obvious

         harm, and to not violate his constitutional rights.

    104. Defendant MACNAUGHT failed to act as a reasonable officer would have acted in the

         same or similar circumstances.

    105. Defendant MACNAUGHT, without justification and the need to do so, used excessive

         and deadly force as described above, and killed DEMARCUS without legal justification.

         DEMARCUS never made any threatening gestures toward Defendant MACNAUGHT,

         never had a weapon of any kind, had not been suspected of committing a felony or crime

         involving violence or potential harm to others, and did not pose an immediate threat to the

         safety of Defendant MACNAUGHT or others.

    106. Defendant MACNAUGHT was not provoked when he entered Plaintiffs’ car, became

         physical with Plaintiff, shot him with a Taser, and certainly not when he fired multiple

         shots from his service weapon at him while he ran away. DEMARCUS died as a result of

         the gunshot wound to his back for no lawful or justifiable reason.

    107. The excessive and deadly force used by Defendants was not reasonable, justified, nor

         necessary under the circumstances.


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    108. Defendant MACNAUGHT’s actions were not objectively reasonable because he followed

         a procedure designed to inflict excessive and deadly force in a non-life threatening

         situation.

    109. Defendant MACNAUGHT denied DEMARCUS his right to be free from the use of

         excessive force in violation of the Fourth Amendment to the United States Constitution.

    110. MACNAUGHT’s actions, including his sneaking into the vehicle, attacking DEMARCUS

         in the car, firing his Taser, and shooting him as he fled, were not actions a competent police

         officer would take.

    111. A reasonable officer would have recognized that said actions were violative of DEMAR-
         CUS’s clearly established rights.
    112. The force used by Defendant MACNAUGHT was unnecessary, excessive, and unreason-
         able under the circumstances, as SEMER did not pose a threat to the safety of Defendant
         MACNAUGHT or others and the use of such excessive and deadly force was unnecessary.
    113. Defendant MACNAUGHT embarked on an outrageous course of conduct with a reckless,
         intentional, deliberately indifferent, knowing and conscious disregard that it would cause
         and, in fact, caused DEMARCUS to suffer extreme and severe mental and emotional dis-
         tress, agony, anxiety, fear for his safety and his life.
    114. Defendant MACNAUGHT’s conduct from the beginning of the incident forward revealed
         a multitude of procedural improprieties and illegal conduct that was so pervasive so as to
         evidence a lack of proper training, supervision, and operation, discriminatory or other an-
         imus and/or a motive to intentionally harm the Plaintiff.
    115. The evidence from experts in law enforcement is expected to demonstrate that no ordinary
         and objective professional law enforcement officer is the least bit likely to just “mess up”
         as badly as these officers did.
    116. As a result of these Constitutional violations to DEMARCUS and the injuries he sustained,
         Plaintiff seeks compensation as set forth more specifically in the section of this Complaint
         entitled “Damages.”




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              COUNT II – DISCRIMINATION BY DEFENDANT MACNAUGHT
                          (Individually and in his official capacity)

                                COUNT 1 – 42 U.S.C. § 1983

    117. Plaintiff incorporates by reference paragraphs 1 through 116 as if fully set forth herein.

         Plaintiff would show that Defendant MACNAUGHT’s actions on the occasion in question

         were wrongful, malicious and reckless in depriving DEMARCUS of his constitutional

         rights, as alleged more fully below.

    118. At all times material hereto, Defendant MACNAUGHT had a duty to avoid infliction of

         unjustified bodily injury to DEMARCUS, to act to protect him from known or obvious

         harm and to not violate his constitutional rights.

    119. Defendant MACNAUGHT failed to act as a reasonable officer would have acted in the

         same or similar circumstances.

    120. Defendant MACNAUGHT, without justification and the need to do so, without legal

         justification, without a warrant, without any threatening gestures toward anyone, without

         any indication of a weapon of any kind, without actual or reasonable suspicion of

         committing a felony or crime involving violence or potential harm to others, and without

         any real threat to the safety of others, employed covert “sneeking” around the back of

         Plaintiffs’ vehicle and then infiltrated it.

    121. Defendant MACNAUGHT was not provoked when he entered Plaintiffs’ car, became

         physical with Plaintiff, shot him with a Taser, and certainly not when he fired multiple

         shots from his service weapon at him while he ran away. DEMARCUS died as a result of

         the gunshot wound to his back for no lawful or justifiable reason.

    122. The excessive and deadly force used by MACNAUGHT was not reasonable, justified nor

         necessary under the circumstances.


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    123. Defendant MACNAUGHT’s actions were not appropriate nor motivated by any non-

         discriminatory rationale, because he followed a totally unnecessary, severe and provoking

         course of action without any legitimate reason.

    124. Defendant MACNAUGHT denied DEMARCUS his right to be free from discrimination

         in violation of the Fourteenth Amendment to the United States Constitution.

    125. MACNAUGHT’s actions were not those a competent police officer would take absent

         discriminatory intent and/or policy or custom.

    126. A reasonable officer would have recognized that said actions were violative of

         DEMARCUS’s clearly established rights.

    127. The tactics used by Defendant MACNAUGHT was unnecessary, excessive, illegal, and

         unreasonable under the circumstances, as DEMARCUS did not pose a threat to the safety

         of Defendant MACNAUGHT or others.

    128. Defendant MACNAUGHT embarked on an outrageous course of conduct with a reckless,

         intentional, deliberately indifferent, knowing and conscious disregard that it would cause

         and, in fact, caused DEMARCUS to suffer extreme and severe mental and emotional

         distress, agony, anxiety, fear for his safety and his life.

    129. Defendant MACNAUGHT’s conduct, from the beginning of the incident forward,

         revealed a multitude of procedural improprieties and illegal conduct that was so pervasive

         that it evidenced a lack of proper training, supervision, and operation, discriminatory or

         other animus and/or a motive to intentionally harm the Plaintiff.

    130. The evidence from experts in law enforcement is expected to demonstrate that no ordinary

         and objective professional law enforcement officer is the least bit likely to just “mess up”

         as badly as these officers did.




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    131. As a result of these Constitutional violations to DEMARCUS and the injuries he sustained,

         Plaintiff seeks compensation as set forth more specifically in the section of this Complaint

         entitled “Damages.”


                COUNT III - EXCESSIVE FORCE BY DEFENDANT HOLMES
                          (Individually and in his official capacity)

                                           42 U.S.C. § 1983

    132. Plaintiff incorporates by reference paragraphs 1 through 131 as if fully set forth herein.
         Plaintiff would show that Defendant HOLMES’s actions on the occasion in question were
         wrongful, malicious, and reckless in depriving DEMARCUS of his constitutional rights,
         as alleged more fully below.
    133. At all times material hereto, Defendant HOLMES had a duty to avoid infliction of

         unjustified bodily injury to DEMARCUS, to act to protect him from known or obvious

         harm, and to not violate his constitutional rights.

    134. Plaintiff will show that Defendant HOLMES failed to act as a reasonable officer would

         have acted in the same or similar circumstances. Defendant HOLMES, without

         justification, used excessive and deadly force as described above, and killed DEMARCUS

         without legal justification.

    135. DEMARCUS never made any threatening gestures toward Defendant HOLMES, never

         had a weapon of any kind, had not been suspected of committing a felony or crime

         involving violence or potential harm to others, and did not pose an immediate threat to the

         safety of Defendant HOLMES or others.

    136. Defendant HOLMES was not provoked when he fired multiple gunshots at the Plaintiff

         as he sat in his car, after he pulled the Plaintiff over for speeding, and may have saw a

         little marijuana. DEMARCUS died as a result of the officer’s gunshots for no lawful or

         justifiable reason.


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    137. The excessive and deadly force used by Defendants was not reasonable, justified, nor

         necessary under the circumstances: a traffic stop for speeding.

    138. Defendant HOLMES’s actions were not objectively reasonable because he followed a

         procedure designed to inflict excessive and deadly force in a non-life threatening situation.

    139. Defendant HOLMES denied DEMARCUS his right to be free from the use of excessive

         force in violation of the Fourth Amendment to the United States Constitution.

    140. HOLMES’ actions, including, but not limited to, his reaching into the vehicle, firing his

         gun at the car, firing his Taser, not letting the Plaintiff leave, and failing to turn off the car,

         were not those a competent police officer would take.

    141. A reasonable officer would have recognized that said actions were violative of

         DEMARCUS’s clearly established rights.

    142. The force used by Defendant HOLMES was unnecessary, excessive, and unreasonable

         under the circumstances, as DEMARCUS did not pose a threat to the safety of Defendant

         HOLMES.

    143. Defendant HOLMES embarked on an outrageous course of conduct with a reckless,

         intentional, deliberately indifferent and knowing and conscious disregard that it would

         cause, and in fact, caused DEMARCUS to suffer extreme and severe mental and

         emotional distress, agony, anxiety and fear for his safety and his life.

    144. Defendant HOLMES’s conduct from the beginning of the incident forward revealed a

         multitude of procedural improprieties and illegal conduct that was so pervasive so as to

         evidence a lack of proper training, supervision, and operation, discriminatory or other

         animus and/or a motive to intentionally harm the Plaintiff.

    145. The evidence from experts in law enforcement is expected to demonstrate that no ordinary

         and objective professional law enforcement officer is the least bit likely to just “mess up”

         as badly as these officers did.

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    146. As a result of these Constitutional violations to DEMARCUS and the injuries he sustained,

         Plaintiff seeks compensation as set forth more specifically in the section of this Complaint

         entitled “Damages.”


            COUNT IV – FAILURE TO INTERVENE BY DEFENDANT HOLMES
                        (Individually and in his official capacity)

                                            42 U.S.C. § 1983

    147. Plaintiff incorporates by reference paragraphs 1 through 146 as if fully set forth herein.
         Plaintiff would show that Defendant HOLMES’s actions on the occasion in question were
         wrongful, malicious and reckless in depriving DEMARCUS of his constitutional rights,
         as alleged more fully below.

    148. Defendant HOLMES had a duty to intervene and protect DEMARCUS from infliction of

         unjustified bodily injury, to act to protect him from known or obvious harm, and to not try

         to prevent violation of his constitutional rights.

    149. Defendant HOLMES, without justification or cause, failed to take action to stop

         MACNAUGHT as he used excessive and deadly force as described above and killed

         DEMARCUS without legal justification. DEMARCUS never made any threatening

         gestures toward Defendants, had not been suspected of committing a felony or crime

         involving violence or potential harm to others, never had a weapon of any kind, and did

         not pose an immediate threat to the safety of Defendant HOLMES or others.

    150. Defendant MACNAUGHT’s actions in invading the Plaintiff’s car and getting into a

         physical altercation with him were obviously disproportionate and unnecessary.

    151. HOLMES violated DEMARCUS’ rights by failing to intervene and inform

         MACNAUGHT that the Plaintiff was pulled over for a minor infraction, and there was no

         evidence of a threat or any crime justifying physical force.



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    152. Defendant HOLMES was not facing an imminent threat of danger when he fired multiple

         gunshots at DEMARCUS as he sat in his car. This dangerous and incompetent conduct

         by HOLMES created a false illusion and/or justification to MACNAUGHT that

         DEMARCUS had a firearm and thus posed a danger. Giving MACNAUGHT the false

         belief that DEMARCUS was firing a gun violated his responsibility to protect

         DEMARCUS’ constitutional rights.

    153. DEMARCUS died as a result of HOLMES’ violations of DEMARCUS’ rights by failing

         to stop HOLMES from sneaking around the car and entering it unannounced, and by firing

         gunshots into the occupied vehicle and giving the false impression DEMARCUS was

         armed instead of stopping MACNAUGHT.

    154. The excessive and deadly force used by Defendants was not reasonable, justified nor was

         it necessary under the circumstances described herein.

    155. A reasonable officer would have recognized that the aforementioned actions were

         violative of DEMARCUS’s clearly established rights.

    156. The officers’ actions were not those a competent police officer would take.

    157. Defendant HOLMES denied DEMARCUS his right to be free from the use of excessive

         force in violation of the Fourth Amendment to the United States Constitution.

    158. The force utilized by MACNAUGHT and observed by HOLMES was unnecessary, ex-
         cessive and unreasonable under the circumstances.
    159. Defendants embarked on an outrageous course of conduct with a reckless, intentional,
         deliberately indifferent, and knowing and conscious disregard that caused DEMARCUS
         to suffer extreme and severe mental and emotional distress, agony, anxiety, and fear for
         his safety and his life.
    160. Defendants conduct from the beginning of the incident forward, including HOLMES’ fail-
         ure to protect Plaintiff, revealed a multitude of procedural improprieties and illegal con-
         duct that evidenced a lack of proper training, supervision, and operation.


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    161. No ordinary and objective professional law enforcement officer is the least bit likely to
         have used deadly force on an unarmed man in the back as he fled.
    162. As a result of these Constitutional violations to DEMARCUS and the injuries he sus-
         tained, Plaintiff seeks compensation as set forth more specifically in the section of this
         Complaint entitled “Damages.”
           COUNT V – CONSPIRACY TO INTERFEAR WITH CIVIL RIGHTS BY
               DEFENDANT HOLMES (Individually and in his official capacity)

                                        42 U.S.C. § 1985

    163. Plaintiff incorporates by reference paragraphs 1 through 162 as if fully set forth herein.
         Plaintiff would show that Defendant HOLMES’ actions on the occasion in question were
         wrongful, malicious and reckless in depriving DEMARCUS of his constitutional rights,
         as alleged more fully below.
    164. Defendants used excessive and deadly force as described above and killed DEMARCUS
         without legal justification.
    165. DEMARCUS never made any threatening gestures toward Defendants, never had a
         weapon of any kind, and did not pose an immediate threat to the safety of Defendant
         HOLMES or others.

    166. DEMARCUS died as a result of HOLMES and MACNAUGHT acting in concert to

         violate DEMARCUS’ rights.

    167. The excessive and deadly force used by Defendants was unreasonable, unjustified and

         unnecessary under the circumstances.

    168. Defendants knew their actions were not reasonable and conspired to conceal their

         deprivations of Plaintiff’s civil rights in order to avoid responsibility.

    169. Defendants denied DEMARCUS his right to be free from the use of excessive force in
         violation of the Fourth Amendment to the United States Constitution by working in con-
         cert to skirt a proper review of the shooting by the FPPD, St. Lucie County Sheriff, and
         the State Attorney.
    170. The Defendants conspired to formulate a story as to, among other falsities, how the shoot-
         ing occurred and specifically how Officer MACNAUGHT purported to believe Plaintiff

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         had a gun and was threatening him, despite both officers concession that they never saw
         a weapon of any kind.
    171. Prior to the incident, Defendants took additional efforts to ensure neither they nor their
         vehicles had functional video cameras in an effort to deprive DEMARCUS and other cit-
         izens they stopped from having their safety adequately monitored.
    172. Defendants also committed a huge number of procedural violations and illegal acts prior
         to, throughout and after the incident, some of which were part of their conspiracy to avoid
         accurate review of and responsibility for the killing of DEMARCUS.
    173. The officers’ actions were not those a competent police officer would take.
    174. Defendants embarked on an outrageous course of conduct with a reckless, intentional,
         deliberately indifferent and conscious disregard that caused DEMARCUS to suffer ex-
         treme and severe mental and emotional distress, agony, anxiety and fear for his safety and
         his life.
    175. Defendants’ conduct, from the beginning of the incident forward, including HOLMES’
         failure to protect Plaintiff, revealed a multitude of procedural improprieties and illegal
         conduct that evidenced a lack of proper training, supervision, and operation.
    176. As a result of these Constitutional violations to DEMARCUS and the injuries he sustained,
         Plaintiff seeks compensation as set forth more specifically in the section of this Complaint
         entitled “Damages.”




    COUNT V – CONSPIRACY TO INTERFEAR WITH CIVIL RIGHTS BY
       DEFENDANT MACNAUGHT (Individually and in his official capacity)

                                       42 U.S.C. § 1985

    177. Plaintiff incorporates by reference paragraphs 1 through 176 as if fully set forth herein.
         Plaintiff would show that Defendant MACNAUGHT’S actions on the occasion in
         question were wrongful, malicious and reckless in depriving DEMARCUS of his
         constitutional rights, as alleged more fully below.




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    178. Defendants used excessive and deadly force as described above and killed DEMARCUS
         without legal justification.
    179. DEMARCUS never made any threatening gestures toward Defendants, never had a
         weapon of any kind, and did not pose an immediate threat to the safety of Defendant
         HOLMES or others.
    180. Defendant MACNAUGHT’s actions in invading the Plaintiff’s car and getting into
         physical altercation with him were obviously disproportionate and unnecessary such that
         HOLMES’ failure to intervene and inform MACNAUGHT that the Plaintiff was pulled
         over for a minor infraction and stop his aggression towards Plaintiff equated to a
         conspiratorial act.
    181. Defendant HOLMES was not provoked when he fired multiple gunshots at the Plaintiff
         as he sat in his car, after he pulled the Plaintiff over for speeding, and without a radar
         reading. DEMARCUS died as a result of HOLMES and MACNAUGHT’S violations of
         DEMARCUS’ rights, and their firing of weapons at him at him three different times after
         pulling him over for speeding.
    182. The excessive and deadly force used by Defendants was not reasonable, justified, nor

         necessary under the circumstances – a traffic stop for speeding.

    183. Defendants knew their actions were not reasonable, and conspired to conceal their

         deprivations of Plaintiff’s civil rights in order to avoid responsibility.

    184. Defendants denied DEMARCUS his right to be free from the use of excessive force in

         violation of the Fourth Amendment to the United States Constitution by working in

         concert to skirt a proper review of the shooting by the FPPD and by the State Attorney.

    185. The Defendants conspired to formulate a story as to, among other falsities, how the

         shooting occurred and specifically how Officer MACNAUGHT purported to believe

         Plaintiff had a gun and was threatening him.

    186. A reasonable officer would have recognized that the aforementioned actions were

         violative of DEMARCUS’s clearly established rights.

    187. The officers’ actions were not those a competent police officer would take.

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    188. Prior to the incident, Defendants took additional efforts to ensure neither they, nor their

           vehicles, had functional video cameras, in an effort to deprive DEMARCUS and other

           citizens they stopped from having their safety adequately monitored.

    189. Defendants also committed an unconscionable number of procedural violations and illegal

           acts prior to, throughout, and after the incident, some of which were part of their

           conspiracy to avoid accurate review of and responsibility for the killing of DEMARCUS.

    190.   Defendants embarked on an outrageous course of conduct with a reckless, intentional,

           deliberately indifferent, knowing and conscious disregard that it, and Defendants’ decision

           to turn a blind eye to the conduct, would cause and, in fact, caused SEMER to suffer

           extreme and severe mental and emotional distress, agony, anxiety and fear for his safety

           and his life.

    191. Defendants conduct from the beginning of the incident forward, including their failure to

           protect Plaintiff, revealed a multitude of procedural improprieties and illegal conduct that

           was so pervasive so as to evidence a lack of proper training, supervision and operation,

           discriminatory or other animus and/or a motive to intentionally harm the Plaintiff.

    192. As a result of these Constitutional violations to DEMARCUS and the injuries he sustained,

           Plaintiff seeks compensation as set forth more specifically in the section of this Complaint

           entitled “Damages.”


            COUNT VI – CONSPIRACY TO INTERFEAR WITH CIVIL RIGHTS BY
                              DEFENDANT FORTPIERCE

                                             42 U.S.C. § 1985

    193. Plaintiff incorporates by reference paragraphs 1 through 192 as if fully set forth herein.
           Plaintiff would show that Defendant FORTPIERCE’s actions on the occasion in question
           were wrongful, malicious and reckless in depriving DEMARCUS of his constitutional
           rights, as alleged more fully below.


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    194. Defendants killed DEMARCUS without legal justification, as he never made any
         threatening gestures toward Defendants, never had a weapon of any kind, and did not pose
         an immediate threat to the safety of Defendant HOLMES or others.
    195. Defendant MACNAUGHT’s actions of invading the Plaintiff’s car and getting into a

         physical altercation with him were obviously disproportionate and unnecessary such that

         HOLMES’ failure to intervene and inform MACNAUGHT that the Plaintiff was pulled

         over for a minor infraction and stop his aggression towards Plaintiff equated to a

         conspiratorial act.

    196. DEMARCUS died as a result of HOLMES and MACNAUGHT’S violations of

         DEMARCUS’ rights and their firing of weapons at him at him three different times after

         pulling him over for speeding.

    197. The excessive and deadly force used by Defendants was unreasonable, unjustified and

         unnecessary under the circumstances.

    198. Defendants knew their actions were not reasonable and conspired to conceal their

         deprivations of Plaintiff’s civil rights in order to avoid responsibility.

    199. Defendants denied DEMARCUS his right to be free from the use of excessive force in
         violation of the Fourth Amendment to the United States Constitution by working in con-
         cert to skirt a proper review of the shooting by the FPPD and by the State Attorney.

    200. Reasonable officers would have recognized that the aforementioned actions were violative

         of DEMARCUS’s clearly established rights.

    201. The officers’ and Department’s actions were not those competent police officers would

         take.

    202. Defendants’ actions were the result of, or within the scope of, wrongful and reckless cus-

         toms, policies, practices and/or procedures for which the city of FORTPIERCE and the

         FPPD knew or should have known but never provided the requisite and proper training.

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    203. Defendants, acting through official policies, practices, and customs, and with deliberate,

         callous, and conscious indifference to the constitutional rights of DEMARCUS failed to

         implement and/or enforce the policies, procedures; and practices necessary to provide

         constitutionally adequate protection and assistance to DEMARCUS during his struggle to

         survive and implemented policies, procedures, and practices which actually interfered

         with or prevented with or prevented DEMARCUS from receiving the protection, assis-

         tance, and treatment he deserved.

    204. The CITY OF FORT PIERCE and FPPD’s failure to adequately train, supervise or disci-

         pline its officers who commit a wrongful act or attempt to hide or cover-up a wrongful act

         of a fellow officer was part and parcel of their conspiring to cover up police responsibility

         for shootings.

    205. The Defendants conspired to formulate a story as to, among other falsities, how the shoot-

         ing occurred and specifically how Officer MACNAUGHT came to believe Plaintiff had a

         gun and was threatening him.

    206. Prior to the incident, Defendants failed to properly equip their vehicles with functional

         video cameras in a deliberate effort to deprive DEMARCUS and other citizens they

         stopped from having their safety adequately monitored.

    207. Defendants also committed a huge number of procedural violations and illegal acts prior

         to, throughout and after the incident, some of which were part of their conspiracy to avoid

         accurate review of and responsibility for the killing of DEMARCUS.

    208. In addition, Defendant CITY OF FORT PIERCE and FPPD failed and refused to imple-

         ment customs, policies, practices or procedures, and failed to train its personnel ade-

         quately regarding the proper use of deadly force. In so doing, Defendant CITY OF FORT

         PIERCE knew that it was violating the law, and knew that as a direct consequence of their



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         deliberate decisions, the very situation that occurred – i.e., a citizen’s death-- in all rea-

         sonable probability would occur.

    209. Defendant FORT PIERCE and the FPPD joined with the individual Defendants in con-

         ducting sham investigations of the shooting which were designed to exonerate the Depart-

         ment and the officers without regard for the actual facts or the obvious nature of false

         testimony by the officers.

    210. Defendants embarked on an outrageous course of conduct with a reckless, intentional,

         deliberately indifferent, knowing and conscious disregard that it, and Defendants’ decision

         to turn a blind eye to the conduct, would cause and, in fact, caused SEMER to suffer

         extreme and severe mental and emotional distress, agony, anxiety and fear for his safety

         and his life.

    211. Defendants’ conduct from the beginning of the incident forward, including their failure to

         protect Plaintiff, revealed a multitude of procedural improprieties and illegal conduct that

         was so pervasive that it evidenced a lack of proper training, supervision and operation,

         discriminatory or other animus and/or a motive to harm the Plaintiff.

    212. As a result of these Constitutional violations to DEMARCUS and the injuries he sustained,

         Plaintiff seeks compensation as set forth more specifically in the section of this Complaint

         entitled “Damages.”


                      COUNT VII – FAILURE TO TRAIN AND SUPERVISE
                             BY THE CITY OF FORT PIERCE
                                42 U.S.C. § 1983 (Monell claim)

     213. Plaintiff incorporates regarding paragraphs 1 – 212 as if fully set forth herein. At all
         times material prior to the subject incident, the FORT PIERCE Police Department knew
         or should have known that the Defendant Officers were deficiently trained, supervised



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         and equipped based on a lack of disciplinary procedure and a failure to educate and train
         their officers to even a minimally acceptable degree.
     214. Defendant the City of FORTPIERCE, under the direction of the Policymakers, developed

         and maintained a policy of deficient training of its police force in the use of force,

         including the proper use of deadly force and dealing with individuals during a traffic stop.

     215. FORTPIERCE and thee FPPD’s failure to provide adequate training to its officers on how

         to deal with individuals during a stop and the subsequent use of deadly force reflect

         deliberate indifference by the Policymakers and reckless and conscious disregard for the

         obvious risk that officers would use excessive or deadly force on citizens and led to the

         violations of SEMER’ constitutional rights, including his death.

     228. Defendants’ actions were the result of, or within the scope of, wrongful and reckless

         customs, policies, practices and/or procedures for which the city of FORTPIERCE and

         the FPPD knew or should have known but never provided the requisite and proper training.

     229. On information and belief, Defendants, acting through official policies, practices, and

         customs, and with deliberate, callous, and conscious indifference to the constitutional

         rights of SEMER failed to implement and/or enforce the policies, procedures; and

         practices necessary to provide constitutionally adequate protection and assistance to

         SEMER during his struggle to survive.

     230. Defendant CITY OF FORTPIERCE implemented policies, procedures, and practices

         which actually interfered with or prevented with or prevented SEMER from receiving the

         protection, assistance and treatment which he was Constitutionally entitled.

     231. For example, the following conduct, policies, and customs by Defendants

         violated SEMER’ constitutional rights:

           a) the City of FORTPIERCE and FPPD’s failure to adequately train, supervise or

               discipline its officers;

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           b) Defendants’ policy on the proper use of deadly force;

           c) Defendants’ inadequate training on how to deal with individuals during a traffic stop;

           d) Using physical force and also deadly force against SEMER while he was seated in
              a vehicle;

           e) Using deadly force against SEMER although he caused no immediate threat;
           f) Using deadly force while SEMER was fleeing;
           g) Using deadly force by shooting SEMER in the back while he was unarmed;
           h) Entering SEMER’s vehicle through the passenger’s door;
           i) Entering a vehicle without permission or a warrant;
           j) Secretly opening the passenger door of a passenger vehicle to conduct an illegal
               search;
           k) Consciously failing to supply and utilize dash or body cams to either officer; and
           l) The FPPD failed to observe proper police procedure or adequately supervise and
               train its officers to do so.

    234. In addition, Defendant City of FORTPIERCE and FPPD failed and refused to implement

        customs, policies, practices or procedures, and failed to train its personnel adequately

        regarding the proper use of deadly force. In so doing, Defendant City of FORTPIERCE

        knew that it was violating the law, and knew that as a direct consequence of their deliberate

        decisions, the very situation that occurred -- i.e., a citizen’s death-- in all reasonable

        probability would occur.

    235. The Department participated and allowed its officers to participate in the manipulation of

        evidence, evidence gathering and presentation in a wrongful act or attempt to hide or cover-

        up the wrongful nature of the subject shooting by a fellow officer, which serves as further

        evidence of the pattern of disregard for observance of constitutional norms and protections.

    236. A Department operated in a reasonable manner would have recognized that the

        aforementioned actions were violative of MR. SEMER’s clearly established rights.


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    237. The Department’s actions were not those competent police officers would take.

    238. 157.   The City of FORTPIERCE’s failure to properly train, supervise and discipline its

        deputies was the proximate cause of the violations of SEMER’ constitutional rights.



     VIII.      ASSAULT AND BATTERY – DEFENDANT CITY OF FORTPIERCE
                               (Vicarious Liability)
    239. Plaintiff incorporates by reference paragraphs 1 through 65 as if fully set forth herein and

        states as follows:

    240. The officers Defendants both assaulted MR. SEMER and Defendant MACNAUGHT also

        committed battery against him on numerous occasions.

    241. HOLMES caused the Plaintiff to anticipate being struck by a bullet or bullets by

        intentionally firing his service weapon at him without provocation or cause, thus

        constituting Assault.

    242. Without justification, the discharge of his weapon was unauthorized and illegal and may

        not be excused by virtue of his status as an officer.

    243. Defendant MACNAUGHT also assaulted MR. SEMER when he invaded his car, as this

        was an intentional act that caused SEMER to anticipate that the officer was going to

        make an unauthorized physical contact imminently.

    244. Defendant MACNAUGHT also committed battery against MR. SEMER when he

        attacked him physically in his vehicle, then again when he hit him with his Taser, and

        then a third time when he killed him by shooting him in the back while he ran away.

    245. MACNAUGHTS actions were all unjustified and thus illegal such that his status as a

        police officer does not serve to relieve him of any responsibility for them.

    246. Each assault and battery caused the Plaintiff damages as detailed below.

    247. The Defendant officers were both employees of Defendant City of FORTPIERCE at the

        time of the incident such that the City is vicariously liable for these torts and responsible

        for the damages flowing from them.
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    248. As a result of these violations and the injuries he sustained, Plaintiff seeks compensation
        as set forth more specifically in the section of this Complaint entitled “Damages.”


     IX. NEGLIGENCE – DEFENDANT CITY OF FORTPIERCE (Vicarious Liability)

    249. Plaintiff incorporates by reference paragraphs 1 through 248 as if fully set forth herein

        and states:

    250. The Defendants owed MR. SEMER a duty of care which included protecting him from

        unreasonable harm which they perceive and are able to protect him from and included

        avoiding causing him unnecessary harm.

    251. Defendants acted negligently in causing MR. SEMER harm and in failing to protect him

        from harm, including from one another, they easily could have and ought to have.

    252. Defendant FORTPIERCE is vicariously liable for the negligence of the Defendant

        officers by virtue of their employment.

    253. Defendants’ negligence caused injury to MR. SEMER, including his death, and as further

        detailed below.

    254. As a result of these violations the injuries he sustained, Plaintiff seeks compensation as
        set forth more specifically in the section of this Complaint entitled “Damages.”


                                  PUNITIVE/EXEMPLARY DAMAGES

    255. Plaintiff incorporates by reference paragraphs 1 through 254 as if fully set forth herein.

        Plaintiff requests punitive and exemplary damages. The heedless and reckless disregard of

        MR. SEMER’ rights, safety and welfare was more than momentary thoughtlessness,

        inadvertence or misjudgment. Such unconscionable conduct goes beyond ordinary

        negligence, to deliberate action and inaction, and as such Plaintiff requests punitive and

        exemplary damages are awarded against Defendants in a sum which is within the

        jurisdictional limits of this court.


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                                            SURVIVAL ACTION

    256. Plaintiff incorporates by reference paragraphs 1 through 255 as if fully setforth herein.

    257. CLEO H. SMITH is the Personal Representative for the Estate of DEMARCUS SEMER.

    258. SEMER died as a result of the Defendants’ wrongful conduct.

    259. SEMER would have been entitled to bring this action against the Defendants if he had

         lived.

    260. The decedent’s right of action for the wrongful conduct against the Defendants survive in

         favor of heirs, legal representatives, and the estate of the deceased.

    261. Defendants are liable to Plaintiff for the mental anguish and pain and suffering suffered

         by the Plaintiff, as he perceived the end of his life drawing near by virtue of the

         Defendants’ violations of his civil rights through excessive force and with discriminatory

         intent throughout the subject incident. Plaintiff seeks compensation as set forth more

         specifically in the section of this Complaint entitled “Damages.”



                                         WRONGFUL DEATH



    262. Plaintiff incorporates by reference paragraphs 1 through 261 as if fully set forth herein.



    263. Defendants are liable for damages by virtue of the wrongful death of Mr. SEMER to MR.

         SEMER’s Estate and to his mother LATRICIA MIDDLETON, the survivor of his Estate.



    264. Defendants’ aforementioned conduct was the legal and proximate cause of SEMER’s

         death, which resulted in the following damages to the ESTATE: loss of future earnings,


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         loss of net accumulations, medical bills, and pain and suffering and mental anguish

         suffered by SEMER prior to his death and funeral expenses



    265. Plaintiff also seeks compensation from Defendants for the following damages, both

    in the past and future, for LATRICIA MIDDLETON:


    a. loss of affection,

    b. loss of support and services,

    c. emotional pain and suffering,

    d. mental anguish;

    e. Loss of consortium, comfort, financial assistance, protection, and care;

                    f.; loss of a child;

                   g. Loss of future earnings and contributions to Plaintiff;

                   h. Exemplary and punitive damages as well as costs of court;


    i. Attorneys’ fees pursuant to Title 42 USC § 1988.

                   j. Prejudgment interest; and

                   k. Post judgment interest.


                                    COSTS AND ATTORNEY FEES
    272. Plaintiff incorporates by reference paragraphs 1 through 265 as if fully set forth herein.

          Plaintiff is entitled to an award of attorney fees and costs under Title 42 USC § 1988.


                                            TRIAL BY JURY


    273. Plaintiff demands trial by jury.



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                                                 PRAYER
    WHEREFORE, Plaintiff prays for judgment from Defendants; actual damages, exemplary

         damages, pre-judgment interest at the legal rate; interest on said judgment at the legal rate;

         costs of court; and such other and further relief, both general and special, at law and in

         equity, to which Plaintiff is justly entitled.


    Respectfully Submitted,


    s/ Lorenzo Williams
    Lorenzo Williams
    Gary, Williams, Parenti, Watson and Gary, PLLC
    Attorney for the Plaintiff


                                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 20, 2018, I electronically filed the foregoing
         document with the Clerk of the Court using CM/ECF.




                                       SERVICE LIST
            Cleo Smith as Personal Representative of the Estate of Demarcus Semer
                                  v. City of Fort Pierce et al.



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